           Case 5:17-cv-05824-BLF Document 47 Filed 08/29/18 Page 1 of 3




 1    Kathryn Diemer (CA Bar No. 133977)           Susan D. Fahringer (CA Bar No. 162978)
      Diemer & Wei, LLP                            SFahringer@perkinscoie.com
 2    100 W. San Fernando St., Ste. 555            Charles C. Sipos (Pro Hac Vice)
      San Jose, CA 95113                           CSipos@perkinscoie.com
 3
      Phone: 408-971-6270                          PERKINS COIE LLP
 4    Fax: 408-971-6271                            1201 Third Avenue, Suite 4900
      kdiemer@diemerwei.com                        Seattle, WA 98101-3099
 5                                                 Phone: (206) 359-8000
      Adam E. Urbanczyk (pro hac vice)             Fax: (206) 359-9000
 6    PROGRESSIVE LAW GROUP, LLC
 7    1570 Oak Ave. Ste. 103                       Sunita B. Bali (CA Bar No. 274108)
      Evanston, IL 60201                           SBali@perkinscoie.com
 8    Phone: 312-787-2717                          PERKINS COIE LLP
      adam@progressivelaw.com                      505 Howard Street, Suite 1000
 9                                                 San Francisco, CA 94105
      Rafey S. Balabanian (CA Bar No. 315962)      Phone: (415) 344-7000
10    EDELSON PC                                   Fax: (415) 344-7050
11    123 Townsend St., Suite 100
      San Francisco, CA 94107                      Attorneys for Defendants Google LLC and
12    Phone: 415-212-9300                          Google Payment Corporation
      Fax: 415-373-9435
13    rbalabanian@edelson.com
14    Attorneys for Plaintiff Adam Gurno
15

16                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
17                                     SAN JOSE DIVISION
18
       ADAM GURNO, individually and on behalf of    Case No.: 17-cv-05824-BLF
19     all others similarly situated,
                                                    Judge: Hon. Beth Labson Freeman
20                           Plaintiff,
              v.
21
       GOOGLE LLC, a Delaware Limited Liability     STIPULATION OF VOLUNTARY
22                                                  DISMISSAL PURSUANT TO RULE
       Company, and
       GOOGLE PAYMENT CORPORATION, a                41(a)(1)(A)(ii)
23
       Delaware Corporation, and DOE 1 through
24     DOE 20 Inclusive,
25                           Defendants.
26

27

28

     STIPULATION OF VOLUNTARY DISMISSAL                                   CASE NO. 17-CV-05824-BLF
           Case 5:17-cv-05824-BLF Document 47 Filed 08/29/18 Page 2 of 3



 1          Plaintiff Adam Gurno (“Plaintiff”) and Defendants Google LLC and Google Payment

 2   Corporation (individually and collectively, “Defendants”), by and through their undersigned

 3   attorneys, hereby stipulate and agree, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),

 4   that the above-entitled action is hereby voluntarily dismissed with prejudice as to the individual

 5   claims asserted by Plaintiff and without prejudice as to the claims of the putative class. Each party

 6   shall bear its own costs and attorneys’ fees.

 7                                                   Respectfully submitted,

 8

 9    DATED: August 29, 2018                                 EDELSON PC
10
                                                             By: /s/ Rafey S. Balabanian
11                                                               Rafey S. Balabanian, Bar No. 315962
                                                                 rbalabanian@edelson.com
12
                                                             Attorneys for Plaintiff Adam Gurno,
13                                                           individually and on behalf of all others
                                                             similarly situated
14

15
      DATED: August 29, 2018                                 PERKINS COIE LLP
16

17                                                           By: /s/ Susan D. Fahringer
                                                                 Susan D. Fahringer, Bar No. 162978
18                                                               SFahringer@perkinscoie.com
19                                                           Attorneys for Defendants
                                                             Google LLC and Google Payment Corporation
20
21

22

23

24

25

26
27

28


     STIPULATION OF VOLUNTARY DISMISSAL                  2                            CASE NO. 17-CV-05824-BLF
           Case 5:17-cv-05824-BLF Document 47 Filed 08/29/18 Page 3 of 3



 1
                                           FILER’S ATTESTATION
 2
             I, Rafey S. Balabanian, am the ECF user whose identification and password are being used
 3
     to file this Stipulation of Voluntary Dismissal. I hereby attest that all signatories listed on the
 4
     preceding page concur in this filing.
 5

 6
     Dated: August 29, 2018                                          /s/ Rafey S. Balabanian
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
     STIPULATION OF VOLUNTARY DISMISSAL                   1                           CASE NO. 17-CV-05824-BLF
